 AO 440 (Rev. 01/09)
               Case  Summons in a Civil Action - MIWD (Rev. 07/15)
                       1:23-cv-00739-PLM-SJB                    ECF No.Print/Publish
                                                                        1-2, PageID.17
                                                                                     to .pdf                                   Filed 07/11/23
                                                                                                                                     Save As... Page 1 of 1 Reset

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                JODI VANLERBERGHE,
individually and on behalf of all others similarly situated,                                                  Case No. 1:23-cv-00739
                                                                                                              Hon.
                                                                                                       TO: SIR Home Improvement Inc.
                                    v.
     SIR HOME IMPROVEMENT INC. a Michigan                                                   ADDRESS:
                                                                                                            c/o Frank Mumford
                  corporation,                                                                              9151 Shaver Rd,
                                                                                                            Portage, MI 49024


  A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                        C. Nicholas Curcio
                                                                                                        CURCIO LAW FIRM PLC
  YOU ARE HEREBY SUMMONED and required to serve                                                         16905 Birchview Drive Nunica, MI 49448 Telephone:
  upon plaintiff, an answer to the attached complaint or a motion                                       (616) 430-2201 ncurcio@curciofirm.com
  under Rule 12 of the Federal Rules of Civil Procedure within
    21        days after service of this sum mons on y ou (not                                         CLERK OF COURT
  counting the day you received it). If y ou fail to respond,
  judgment by default will be entered against you for the relief
  demanded in the complaint. You must also file your answer
  or motion with the Court.
  The Court has offices in the following locations:

     399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
   P.O. Box 698, 330 Federal Building, Marquette, MI 49855                                                                                                           Insert Today's Date
     107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
     113 Federal Building, 315 W. Allegan, Lansing, MI 48933


                                                                                                         By: Deputy Clerk                                                    Date


                                                                                    PROOF OF SERVICE
  This summons for                                                                                                     was received by me on                                             .
                                               (name of individual and title, if any)                                                                               (date)


   I personally served the summons on the individual at
  on                                .                                                                                         (place where served)
                        (date)


    I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                              (name)

  of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                            (date)


    I served the summons on                                                                                                         , who is designated by law to accept service
                                                                              (name of individual)

  of process on behalf of                                                                                                                        on                                         .
                                                                              (name of organization)                                                                (date)


    I returned the summons unexecuted because                                                                                                                                            .
    Other (specify)                                                                                                                                                                     .

        My fees are $                                       for travel and $                                           for services, for a total of $                                    .
  I declare under the penalty of perjury that this information is true.
  Date:
                                                                                                                                         Server’s signature

  Additional information regarding attempted service, etc.:
                                                                                                                                  Server’s printed name and title



                                                                                                                                       Server’s address
